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COUNSEL FOR DEBTORS AND
DEBTORS-IN-POSSESSION

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

In re:                                                     §       Chapter 11
                                                           §
WILLIAMS FINANCIAL                                         §       Case No. 17-33578-HDH
GROUP, INC., et al. 1                                      §
                                                           §       (Jointly Administered)
                 Debtors.                                  §

                 DEBTORS' MOTION FOR EXPEDITED HEARING ON
             DEBTORS' MOTION TO EXTEND THE DEBTORS' EXCLUSIVE
             PERIOD TO SOLICIT ACCEPTANCES OF A CHAPTER 11 PLAN

         The debtors and debtors-in-possession in the above-captioned chapter 11 cases (the

"Cases") (each a "Debtor" and collectively, the "Debtors"), by and through their undersigned

counsel, hereby file this motion (the "Motion to Expedite") for an expedited hearing on the

1
 The Debtors in these cases, along with the last four digits of each Debtor's federal tax identification number, are:
Williams Financial Group, Inc. (8972); WFG Management Services, Inc. (7450); WFG Investments, Inc. (7860) and
WFG Advisors, LP (9863). The address for all the Debtors is 2711 N. Haskell Ave., Suite 2900, Dallas, TX 75204.

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Debtors' Motion to Extend the Debtors' Exclusive Period to Solicit Acceptances of a Chapter 11

Plan (ECF No. 324, the "Exclusivity Motion"). In support of the Motion to Expedite, the Debtors

respectfully state as follows:

         1.    On March 5, 2018, the Court ruled (the "March 5 Ruling") that the Debtors could

not substantively consolidate as part of their proposed plan of liquidation (ECF No. 277, the

"Plan"). The Court further ruled that, by the end of March, the Debtors should amend their

disclosure statement (ECF No. 276, the "Disclosure Statement") and seek a new hearing on the

adequacy of the Disclosure Statement as amended.

         2.    The exclusive period for the Debtors to solicit acceptances of a plan will expire on

March 23, 2018 by statute. See 11 U.S.C. § 1121(c)(3). The Debtors understand the March 5

Ruling to contemplate an extension of exclusivity so that the Debtors can amend the Disclosure

Statement and Plan without giving rise to competing plans. However, in an abundance of

caution, the Debtors seek to have the Court formally extend the exclusive periods under Section

1121 before the expiration of exclusivity.

         3.    The Debtors filed the Motion to Expedite to request the Court rule on the

Exclusivity Motion prior to the end of the Debtors' statutory exclusivity period on March 23,

2018. The Debtors seek a hearing on the Exclusivity Motion on March 21, 2018 at 1:30 PM, or

at such other time as the Court's schedule permits on or before March 23, 2018.

         4.    The Debtors estimate that a hearing on the Exclusivity Motion will require one

hour.

         5.    Undersigned counsel certifies that there is a true necessity for expedited

consideration of the Exclusivity Motion, because the statutory exclusivity period is set to end

before twenty-one days' notice can be provided, and that the necessity has not been caused by a



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lack of diligence on their part. Rather, counsel seeks expedited relief in an effort to ensure that

all parties in interest have clarity on the issue of exclusivity before the end of the statutory

period.


Dated: March 8, 2018                         Respectfully submitted,

                                             AKERMAN LLP

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                             CERTIFICATE OF CONFERENCE
         Counsel for Debtors sought to confer with Eric Van Horn, counsel for the Customer
Creditors, Sean McCaffity, counsel for the Trustee of the Dallas Proton Bankruptcy estate, Erin
Jones, counsel for the Jones creditors, Stephen Krosschell, counsel for the Arbitration Creditors,
and Jarom Yates, counsel for the Debtors' landlord. Mr. Van Horn, on behalf of his clients and
those of Mr. McCaffity and Ms. Jones, indicated that they were opposed to the relief requested
herein. Mr. Yates indicated that his client was unopposed to the relief requested herein. As of
filing, the Debtors had not heard back from Mr. Krosschell.

                                             By: /s/ Scott D. Lawrence
                                             One of Counsel




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